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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KEITH S. MORRIS,

                               Plaintiff,
                                                                        20-CV-2015 (LLS)
                           -against-
                                                                     ORDER OF DISMISSAL
 THE UNITED STATES OF AMERICA (GOV), et al.,

                               Defendants.

LOUIS L. STANTON, United States District Judge:

         By order dated May 5, 2020, the Court dismissed Plaintiff’s claims against the named

defendants under the doctrine of sovereign immunity. In the same order, the Court granted

Plaintiff leave to file an amended complaint to state facts showing that he had exhausted his

administrative remedies with the Social Security Administration (SSA). Plaintiff submitted an

amended complaint, and the Court has reviewed it. Because the amended complaint does not

state any facts showing that Plaintiff has exhausted his remedies with the SSA, the Court

dismisses the action without prejudice. Once Plaintiff has completed his proceedings with the

SSA, and has received a final decision, he may file in this Court a complaint under 42 U.S.C.

§ 405(g).

                                            CONCLUSION

         The Clerk of Court is directed to mail a copy of this order to Plaintiff and note service on

the docket. Plaintiff’s complaint is dismissed without prejudice under 42 U.S.C. § 405(g).

SO ORDERED.

Dated:      November 6, 2020
            New York, New York

                                                                 Louis L. Stanton
                                                                    U.S.D.J.
